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AO 440 (Rev, 06/12) Summons in a Civil Action (Page 2)
Civil Action No, 18-cv-01684-ESH

PROOF OF SERVICE
{This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, ifany} Executive Office of the Mayor of the District of Columbia
was received by me on (date! July 19, 2018

© I personally served the summons on the individua! at (place)

on (date) ; OF

© I left the summons at the individual’s residence or usual place of abode with fname}

, 4 person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or
O [served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)
on (date) ‘or
© I returned the summons unexecuted because or

™ag Other (specify) 1 served the summons on Tonia Robinson, a registered agent of the defendant named above,
on July 20, 2018, at approximately 11:45am.

My fees are § for travel and $ for services, for a total of $ 0.00

] declare under penalty of perjury that this information is true.

Date: August 14, 2018

Server's signature

Paralegal
ACLU Foundation of the District of Columbia
Printed name and title

ACLU Foundation of the District of Columbia
915 15th St. NW, 2nd Floor
Washington D.C. 20005

Server's address

Additional! information regarding attempted service, etc:
